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 10
 11                     IN THE UNITED STATES DISTRICT COURT
 12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
 14   CHAMBER OF COMMERCE OF THE
      UNITED STATES OF AMERICA,                     2:24-cv-00801-ODW-PVC
 15   CALIFORNIA CHAMBER OF
      COMMERCE, AMERICAN FARM                       DEFENDANTS’ OPPOSITION
 16   BUREAU FEDERATION, LOS                        TO PLAINTIFFS’ MOTION
      ANGELES COUNTY BUSINESS                       FOR SUMMARY JUDGMENT
 17   FEDERATION, CENTRAL VALLEY                    ON CLAIM I
      BUSINESS FEDERATION, and                      Date:         September 9, 2024
 18   WESTERN GROWERS
      ASSOCIATION,                                  Time:         1:30 PM
 19                                                 Courtroom:    5D
                              Plaintiffs,           Judge:        The Honorable Otis
 20                                                               D. Wright, II
                  v.                                Trial Date: Not Set
 21                                                 Action Filed: 1/30/2024
      LIANE M. RANDOLPH, in her official
 22   capacity as Chair of the California Air
      Resources Board, STEVEN S. CLIFF, in
 23   his official capacity as the Executive
      Officer of the California Air Resources
 24   Board, and ROBERT A. BONTA, in his
      official capacity as Attorney General of
 25   California,
                                      Defendants.
 26
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  1                                    INTRODUCTION
  2         Information forms the backbone of our political and economic system.
  3   Indeed, ensuring “the free flow of information” in an open marketplace of ideas
  4   serves core First Amendment goals: “enlighten[ing] public decisionmaking in a
  5   democracy,” and allowing for “intelligent and well informed” economic decisions
  6   in a “predominantly free enterprise economy.” Va. State Bd. of Pharmacy v. Va.
  7   Citizens Consumer Council, Inc., 425 U.S. 748, 765 (1976). Accordingly, the
  8   Constitution gives the government greater latitude when it acts to increase, rather
  9   than restrict, the free flow of information to the marketplace. Zauderer v. Off. of
 10   Disciplinary Couns. of Sup. Ct. of Ohio, 471 U.S. 626, 650-52 (1985).
 11        The Climate Corporate Data Accountability Act (Senate Bill 253) and the
 12   Climate-Related Financial Risk Act (Senate Bill 261) are designed to serve this
 13   very interest: “Information for the public.” SSMF 2. The laws increase
 14   transparency and improve access to consistent, standardized information about the
 15   greenhouse gas (GHG) emissions and climate-related financial risks of the largest
 16   companies doing business in California. They do so to protect consumers and
 17   investors from fraudulent and misleading environmental claims and omissions,
 18   promote efficiency in the markets, SSMF 2, and correct “a massive blind spot for
 19   consumers, investors, and policymakers who are seeking to derive meaningful
 20   insights across the entire economy” in order to make informed decisions about
 21   where to spend their money, how to protect their investments from risk, and what to
 22   regulate in regards to one of the most pressing issues of our time. SSMF 92.
 23        Neither law requires a reporting entity to take a position on any “politically
 24   salient” or “controversial” issue. MSJ 1. Indeed, they do not require statements on
 25   political or ideological issues at all. Rather, Senate Bill 253 simply asks companies
 26   to mathematically calculate their total GHG emissions and make that data public.
 27   And Senate Bill 261 asks companies to disclose corporate governance practices and
 28   risk management strategies—factual information increasingly requested by

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  1   insurance companies and underwriters, SSMF 93-94—so as to make data available
  2   about whether and to what extent those companies are planning for climate change.
  3   These disclosures require the application of traditional financial accounting
  4   principles that are widely accepted. SSMF 95-100. Indeed, many companies
  5   subject to the challenged laws already voluntarily report the required information
  6   using these same principles. SSMF 101-110.
  7        Here, where the laws compel only factual and noncontroversial information
  8   about commercial operations, and do not dictate the language of the disclosures or
  9   hamper companies’ ability to present their own messages on climate change, settled
 10   precedent requires a lower level of First Amendment scrutiny. Zauderer, 471 U.S.
 11   at 651-52. But Senate Bills 253 and 261 would survive under any level of scrutiny.
 12   Plaintiffs’ motion for summary judgment should be denied.
 13                                      BACKGROUND
 14   I.   SENATE BILLS 253 AND 261
 15        A.   Reporting Obligations Are An Ordinary and Expected Part of
                Doing Business
 16
 17         All companies doing business in California are subject to reporting
 18   obligations. Under the California Corporate Disclosure Act, every corporation
 19   qualified to do business in California must make annual disclosures to the
 20   California Secretary of State regarding the corporation’s board of directors, officers
 21   and operations. Cal. Corp. Code §§ 1502, 1502.1, 2117, 2117.1. And publicly
 22   traded companies have to provide additional information regarding independent
 23   auditors, audit reports, annual compensation to directors and officers, loans made to
 24   members of the board at preferential loan rates, etc. Id.
 25        Under federal law, public companies are required to make a variety of
 26   disclosures to the SEC, all of which are made publicly available to investors. These
 27   required disclosures include information about the company’s operations, financial
 28   condition, and risk factors; factors that increase the risk of investing in the
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   1   company; the company’s securities performance; management’s discussion of the
   2   factors it believes have affected past performance and will affect future
   3   performance; etc. See SSMF 111. Among the risks that SEC-regulated companies
   4   have had to report are the impacts of the “Year 2000” (Y2K) problem, the Covid-19
   5   pandemic, high rates of inflation, and Russia’s war on Ukraine. SSMF 112-113.
   6        B.    Senate Bills 253 and 261 Build on Existing Corporate Climate-
                  Related Reporting and Disclosure Practices in Wide Use
   7
   8          Senate Bills 253 and 261 were enacted in late 2023 against the backdrop of
   9   an increasing number of voluntary and required climate-related disclosures.
  10   Multinational companies or U.S.-based companies with international subsidiaries
  11   are required—depending on size—to prepare emissions and climate risk reports
  12   pursuant to the EU’s Corporate Sustainability Reporting Directive, and/or the
  13   International Sustainability Standards Board’s IFRS Sustainability Disclosure
  14   Standards. SSMF 114. The SEC recently finalized a rule governing the reporting,
  15   by publicly traded companies, of climate-related financial risks and certain
  16   categories of GHG emissions. 89 Fed. Reg. 21,668 (Mar. 28, 2024).1 And
  17   thousands of companies have for years publicly reported their climate risks and
  18   other climate metrics under voluntary frameworks. SSMF 101-110. Under one
  19   such voluntary program, the CDP (formerly the Carbon Disclosure Project), over
  20   23,000 firms—including 86% of companies in the S&P 500—disclosed GHG
  21   emissions and climate-related risk information in 2023. SSMF 102.
  22        In passing Senate Bills 253 and 261, the California Legislature built on these
  23   existing frameworks to create “the full transparency and consistency” needed by
  24   California residents, consumers, and investors “to fully understand [] climate risks.”
  25   2023 Cal. Stat., ch. 382 § 1 (S.B. 253); see also 2023 Cal. Stat., ch. 383 § 1 (S.B.
  26   261). The Legislature sought to solve the problem of inconsistent and misleading
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                The SEC voluntarily stayed its rule pending judicial review. See Dkt. ID 5380534, State
  28   of Iowa, et al. v. SEC, 24-1522 (8th Cir. Apr. 4, 2024).

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   1   reporting among companies doing business in the State, 2023 Cal. Stat., ch. 382 §
   2   1, and “set mandatory and comprehensive risk disclosure requirements for public
   3   and private entities to ensure a sustainable, resilient, and prosperous future for our
   4   state,” 2023 Cal. Stat., ch. 383 § 1. See also SSMF 115-116.
   5        C.   Senate Bill 253 Requires the Largest Companies Doing Business
                 in California to Report GHG Emissions in Accordance with
   6             Widely Accepted Protocols
   7        S.B. 253 directs the California Air Resources Board (CARB) to “develop and
   8   adopt regulations” that will require “reporting entit[ies]” to disclose their GHG
   9   emissions. Cal. Health & Safety Code § 38532(c)(1). “Reporting entit[ies]” are
  10   those “do[ing] business in California” with total annual revenues in excess of one
  11   billion dollars. Id. § 38532(b)(2). CARB has not yet adopted the implementing
  12   regulations required by the statute.
  13        Once CARB’s implementing regulations are in place, reporting entities will
  14   report three categories of GHG emissions: Scope 1, Scope 2, and Scope 3. Id.
  15   § 38532(b)(3)–(5). Scope 1 emissions are GHG gas emissions from sources owned
  16   or directly controlled by the reporting entity. Id. § 38532(b)(3). Scope 2 emissions
  17   are indirect emissions associated with the company’s use of electricity, steam,
  18   heating, and cooling. Id. § 38532(b)(4). Scope 3 emissions include all other
  19   indirect emissions, such as emissions from “purchased goods and services, business
  20   travel, employee commutes, and processing and use of sold products.” Id.
  21   § 38532(b)(5).
  22        The law provides that entities measure and report all three categories of
  23   emissions “in conformance” with the “Greenhouse Gas Protocol standards and
  24   guidance,” id. § 38532(c)(1)(A)(ii), a globally accepted protocol for emissions
  25   accounting. SSMF 95-96. This Protocol provides that Scope 3 emissions can be
  26   determined through collection of relevant data (e.g., directly from suppliers), or
  27   estimated using “secondary data sources,” including “industry average data, proxy
  28   data, and other generic data.” Cal. Health & Safety Code § 38532(c)(1)(A)(ii);
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   1   SSMF 117.2 The law “minimizes duplication of effort” by allowing reporting
   2   entities to submit emissions data prepared to meet other national and international
   3   reporting requirements. Cal. Health & Safety Code § 38532(c)(1)(D)(i).
   4         The law requires third-party assurances to ensure the quality and accuracy of
   5   the data. Id. § 38532(c)(1)(F). To ensure the usefulness of the data for investors
   6   and consumers, the law directs an outside organization to create a publicly
   7   accessible digital platform featuring the emissions data, id. § 38532(e)(1), and
   8   prepare a report summarizing the data, id. § 38532(d)(1).
   9         D.    Senate Bill 261 Requires the Largest Companies Doing Business
                   in California to Disclose Climate-Related Financial Risk in
  10               Accordance with Widely Accepted Protocols
  11          S.B. 261 requires U.S. entities with total annual revenues in excess of $500
  12   million dollars that do business in California to prepare a biennial report disclosing
  13   their climate-related financial risk and any measures adopted to reduce and adapt to
  14   that risk. Cal. Health & Safety Code § 38533(a)(4)–(b)(1)(A). The bill defines
  15   “[c]limate-related financial risk” as the “material risk of harm to immediate and
  16   long-term financial outcomes due to physical and transition risks … ,” such as
  17   disruptions to operations, the provision of goods and services, and employee health
  18   and safety. Id. § 38533(a)(2). The law directs entities to prepare their disclosures
  19   in alignment with “the Final Report of Recommendations of the Task Force on
  20   Climate-related Financial Disclosures,” id. § 38533(b)(1)(A)(i), an widely adopted
  21   investor-driven protocol. SSMF 97-98, 118. Entities must take “good faith
  22   measures” to comply but need not adopt any particular climate-related risk
  23   management strategy or take any particular climate-risk mitigation actions. Cal.
  24   Health & Safety Code § 38533(e)(2); SSMF 119-122. Disclosures prepared under
  25   another framework with consistent requirements can be used to fulfill these
  26   requirements. Cal. Health & Safety Code § 38533(b)(4). Each reporting company
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                Thus, Plaintiffs are incorrect that compliance costs would “flow up” the supply chain to
  28   family farmers or other small businesses. Cf. MSJ 5.

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   1   must publish a copy of the report “on its own internet website.” Id. at
   2   § 38533(c)(1).
   3   II.   PROCEDURAL HISTORY
   4         Plaintiffs bring a facial challenge against Senate Bills 253 and 261 under the
   5   First Amendment (Claim I), the “federal Constitution’s Supremacy Clause” (Claim
   6   II), and the “Constitution’s limitations on extraterritorial regulation, including the
   7   dormant commerce clause” (Claim III). ECF No. 28. Defendants moved to dismiss
   8   Claims II and III. ECF No. 38. That motion remains undecided, and no discovery
   9   has occurred.
  10                                   LEGAL STANDARD
  11         The party moving for summary judgment bears the “burden of showing that
  12   there are no genuine issues of material fact . . . .” Ambat v. City & County of San
  13   Francisco, 757 F.3d 1017, 1031 (9th Cir. 2014). The Court must determine
  14   “whether the evidence presents a sufficient disagreement to require submission to a
  15   jury or whether it is so one-sided that one party must prevail as a matter of law.”
  16   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986). “In making this
  17   determination, [courts] view the evidence in the light most favorable to [the non-
  18   movant]. All justifiable inferences are to be drawn in his favor and his evidence is
  19   to be believed.” McSherry v. City of Long Beach, 584 F.3d 1129, 1135 (9th Cir.
  20   2009).
  21         A party bringing a facial challenge to invalidate a law under the First
  22   Amendment must show that “a substantial number of [a law’s] applications are
  23   unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”
  24   Americans for Prosperity Found. v. Bonta, 594 U.S. 595, 615 (2021) (cleaned up).
  25   The Supreme Court has “made facial challenges hard to win” because such
  26   challenges “threaten to short circuit the democratic process” by “preventing duly
  27   enacted laws from being implemented in constitutional ways.” Moody v.
  28   NetChoice, 144 S. Ct. 2383, 2397 (2024) (cleaned up).
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   1                                          ARGUMENT
   2        Senate Bills 253 and 261 require disclosure of only factual and
   3   noncontroversial information about commercial operations and do not dictate the
   4   language of the disclosures or hamper companies’ ability to present their own
   5   messages on climate change. Thus, Plaintiffs’ argument that the laws trigger strict
   6   scrutiny fails. See Zauderer, 471 U.S. at 637. But in light of the compelling
   7   government interest in ensuring the free flow of material information to market
   8   participants, preventing fraud, and lowering GHG emissions, the laws would
   9   survive First Amendment review under any level of scrutiny. Thus, Plaintiffs’
  10   motion for summary judgment must be denied.3
  11   I.   SENATE BILLS 253 AND 261 COMPEL COMMERCIAL SPEECH AND THUS
            ARE SUBJECT TO REVIEW UNDER A LOWER LEVEL OF SCRUTINY
  12
  13        In urging strict scrutiny here, Plaintiffs attempt to minimize the fact that
  14   Senate Bills 253 and 261 regulate only commercial speech. Courts have long
  15   examined regulations affecting commercial speech differently from those impacting
  16   other speech (e.g., political speech)—applying a lower level of scrutiny or declining
  17   to apply First Amendment protections entirely. Zauderer, 471 U.S. at 637; Cent.
  18   Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of New York, 447 U.S. 557, 561-
  19   63 (1980). The Constitution accords the government greater latitude to regulate
  20   commercial speech, relative to other safeguarded forms of expression, because such
  21   speech “occurs in an area traditionally subject to government regulation.” Cent.
  22   Hudson, 447 U.S. at 562.
  23        The need to afford the government greater room to regulate is especially
  24   pronounced when the government action is intended to increase, rather than restrict,
  25   the free flow of accurate information to consumers. See Zauderer, 471 U.S. at 646.
  26
              3
               If this Court does not deny summary judgment outright, then alternatively, it should
  27   grant Defendants’ concurrently filed Motion to Deny or Defer Plaintiffs’ Motion for Summary
       Judgment on Claim I Under Federal Rule of Civil Procedure 56(d), to provide Defendants the
  28   opportunity to conduct the identified discovery.

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   1   For that reason, although restrictions on commercial speech are generally subject to
   2   intermediate scrutiny, Cent. Hudson, 447 U.S. at 563-66, the Supreme Court has
   3   applied a lower level of review where the challenged law requires the disclosure of
   4   factual and noncontroversial information, Zauderer, 471 U.S. at 651. Because “the
   5   extension of First Amendment protection to commercial speech is justified
   6   principally by the value to consumers of the information such speech provides,”
   7   Zauderer, 471 U.S. at 651, and the government has a “legitimate interest in
   8   protecting consumers from ‘commercial harms,’” commercial speech “can be
   9   subject to greater governmental regulation than noncommercial speech,” Sorrell v.
  10   IMS Health Inc., 564 U.S. 552, 566 (2011) (quoting City of Cincinnati v. Discovery
  11   Network, Inc., 507 U.S. 410, 426 (1993)); see also Va. State Bd. of Pharmacy, 425
  12   U.S. at 763 (noting consumers’ “keen” interest in the free flow of commercial
  13   information).
  14        Plaintiffs acknowledge that commercial speech is subject to a lower level of
  15   scrutiny, but they suggest it is limited to speech proposing a “commercial
  16   transaction.” MSJ 15 (citing Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107, 1115
  17   (9th Cir. 2021)). Commercial speech, however, is not so narrowly circumscribed.
  18   See Am. Hosp. Ass’n v. Azar, 983 F.3d 528, 541 (D.C. Cir. 2020) (Zauderer
  19   scrutiny is not “limited to restrictions on advertising and point-of-sale labeling”).
  20   Rather, the Supreme Court defines commercial speech to include “expression
  21   related solely to the economic interests of the speaker and its audience.” Cent.
  22   Hudson, 447 U.S. at 561. This determination “is fact-driven, due to the inherent
  23   difficulty of drawing bright lines that will clearly cabin commercial speech in a
  24   distinct category.” First Resort, Inc. v. Herrera, 860 F.3d 1263, 1272 (9th Cir.
  25   2017) (cleaned up).
  26        Here, the Legislature passed both laws specifically in response to the
  27   expressed desires of commercial audiences—consumers and investors—to inform
  28   investment and purchasing decisions and prevent misrepresentations. SSMF 123-
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   1   125. Indeed, many businesses voluntarily disclose the same or similar metrics
   2   precisely for such commercial purposes: driving contract formation, obtaining
   3   insurance coverage, effectuating mergers and acquisitions, and responding to
   4   investors and consumers. SSMF 110, 126-127. The disclosures involved here
   5   require only factual information about (1) the emissions connected with an entity’s
   6   business operations, and (2) the company’s governance practices and business and
   7   financial plans pertaining to climate risk. See supra Parts I.C, I.D. This
   8   information is commercial speech. See Ariix, 985 F.3d at 1116 (explaining that
   9   courts should “try to give effect to a common-sense distinction between commercial
  10   speech and other varieties of speech”).
  11        And even if Plaintiffs were correct that Zauderer applies only where the
  12   speech has a nexus to “commercial advertising,” MSJ 16, there is such a connection
  13   here. A vast swath of companies doing business in California are advertising their
  14   business as “green” or emissions-conscious. SSMF 128. Indeed, many of
  15   Plaintiffs’ own member companies have advertised themselves as adhering to “net
  16   zero” emissions or other climate-related goals. SSMF 129; see Jordan v. Jewel
  17   Food Stores, Inc., 743 F.3d 509, 518 (7th Cir. 2014) (“An advertisement is no less
  18   ‘commercial’ because it promotes brand awareness or loyalty rather than explicitly
  19   proposing a transaction in a specific product or service.”). The disclosures required
  20   under Senate Bills 253 and 261 are, at least in part, a response to these potentially
  21   misleading statements, SSMF 2, and thus align with two of the “important
  22   guideposts” courts examine in identifying commercial speech: connection to
  23   advertisements and the “economic motivation” of the speaker. See Bolger v.
  24   Youngs Drug Prod. Corp., 463 U.S. 60, 66-67 (1983); see also Ariix, 985 F.3d at
  25   1116 (“Courts have found commercial speech even when it involves indirect
  26   benefits, such as . . . improvements to a brand’s image”); Jordan, 743 F.3d at 518
  27   (“Modern commercial advertising is enormously varied in form and style.”).
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   1   II.   THE DISCLOSURE LAWS ARE CONSTITUTIONAL UNDER ZAUDERER
   2         The test for analyzing the constitutionality of compelled commercial
   3   disclosures—as opposed to “outright prohibitions on speech”—is established in
   4   Zauderer. 471 U.S. at 650. In that case, the Court found an attorney advertisement
   5   that claimed, “if there is no recovery, no legal fees are owed by our clients,” had a
   6   “self-evident” capacity to mislead a layperson unaware of the distinction between
   7   legal fees and litigation costs. Id. at 652. Although “unjustified or unduly
   8   burdensome disclosure requirements might offend the First Amendment,” there is
   9   only a “minimal” constitutionally protected interest in not providing “factual and
  10   uncontroversial information” about one’s business or services. Id. at 651. “Under
  11   Zauderer, compelled disclosure of commercial speech complies with the First
  12   Amendment if the information in the disclosure is reasonably related to a
  13   substantial governmental interest[,] … is purely factual and uncontroversial,” and is
  14   not unduly burdensome. CTIA – The Wireless Assoc. v. City of Berkeley, 928 F.3d
  15   832, 845, 848-49 (9th Cir. 2019).
  16         Zauderer and its progeny thus reflect the principle that “[t]he First
  17   Amendment does not generally protect corporations from being required to tell
  18   prospective customers the truth.” Nationwide Biweekly Admin. v. Owen, 873 F.3d
  19   716, 721 (9th Cir. 2017). Here, the compelled disclosures provide consumers and
  20   investors with more accurate and comparable data from companies choosing to do
  21   business in the state, facilitating informed market decisions. SSMF 86, 131-132.
  22   These disclosures do not require companies to act in a way that is inconsistent with
  23   their views about, or, indeed, to take any position on, climate change, SSMF 119;
  24   rather, these laws simply require the largest companies doing business in the state
  25   to disclose (1) quantitative data on emissions and (2) descriptive accounts of their
  26   internal risk planning. These laws pass constitutional muster.
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   1        A.   The Required Disclosures are “Purely Factual and
                 Uncontroversial”
   2
   3        1. S.B. 253 requires companies to disclose objective, factual information: the
   4   quantity of their greenhouse gas emissions. Cal. Health & Safety Code
   5   § 38532(c)(1)(A)(ii). Entities must measure and report their emissions “in
   6   conformance” with the “Greenhouse Gas Protocol standards and guidance,” id.
   7   § 38532(c)(1)(A)(ii), which is a “globally accepted reporting framework” and
   8   “aligned with traditional financial reporting principles.” SSMF 95-96. Third-party
   9   firms review such data to ensure its quality and accuracy, further underscoring the
  10   factual nature of this information. Cal. Health & Safety Code § 38532(c)(1)(F).
  11        Plaintiffs argue that the emissions disclosures are “more conjecture than fact,”
  12   because alleged “gaps in emissions measurement methodologies” and the need to
  13   make “judgment calls” renders the calculation anything but “purely factual.” MSJ
  14   17-18. But the use of estimates under longstanding financial accounting principles
  15   does not render the disclosures “matters of opinion.” SSMF 132-135, 141; see
  16   Envtl. Def. Ctr. v. U.S. E.P.A., 344 F.3d 832, 849 (9th Cir. 2003) (citations
  17   omitted). To conclude otherwise would call into question a host of financial
  18   disclosure requirements and other commercial documents, many of which similarly
  19   rely on judgment calls and estimates. SSMF 136-140.
  20        Nor are the disclosures “misleading” because companies must disclose the
  21   emissions of “upstream and downstream” suppliers, among others, or because the
  22   Greenhouse Gas Protocol standards do not cover “avoided emissions.” MSJ 18.
  23   To the contrary, allowing firms to report just partial emissions, or their emissions
  24   reduction projects (i.e., “avoided emissions”), in lieu of disclosing their total
  25   emissions, would be highly misleading. SSMF 142; see Am. Hosp. Assoc., 983
  26   F.3d at 541. The Greenhouse Gas Protocol provides industry-standard
  27   methodologies for calculating accurate and transparent factual information. SSMF
  28   95-96, 132.

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   1        S.B. 261 similarly requires the disclosure of only factual statements about the
   2   reporting entities’ own activities. Companies must disclose their actual policies and
   3   actual planning pertaining to climate-related financial risks as assessed by the
   4   company. SSMF 119-122, 143. The law does not compel companies to address
   5   matters of opinion, or to take a particular policy position in regards to climate
   6   change—if an entity does not currently evaluate climate-related risks, its disclosure
   7   could state merely that (i.e., that it has no climate-related governance, strategy, risk
   8   management plans, or metrics and targets), and still comply with S.B. 261’s
   9   disclosure requirements. SSMF 119-121. A company’s decision whether and how
  10   to plan for climate-risks affecting its business is a subject of legitimate interest to
  11   investors. SSMF 123-126.
  12        2. Nor are the disclosures at issue “controversial.” A statement of fact does
  13   not become controversial simply because it “can be tied in some way to a
  14   controversial issue,” CTIA, 928 F.3d at 845, or because a listener may use the fact
  15   to form an opinion. By contrast, courts have declined to apply Zauderer where the
  16   speaker was forced to convey a message to which they are morally, religiously, or
  17   ideologically opposed. See Nat’l Inst. of Fam. and Life Advocs. v. Becerra, 585
  18   U.S. 755, 768-69 (2018) (NIFLA); Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n of
  19   Cal., 475 U.S. 1, 15 n.12 (1986) (explaining states have “substantial leeway” to
  20   impose “appropriate information disclosure requirements” on companies, but may
  21   not “require corporations to carry the messages of third parties, where the messages
  22   themselves are biased against or are expressly contrary to the [business]’s views”).
  23   For example, in NIFLA, California required clinics whose purpose was to oppose
  24   abortion to provide information about state-sponsored abortion services—a
  25   message “fundamentally at odds with [their] mission.” CTIA, 928 F.3d at 845.
  26   And in National Ass’n of Manufacturers v. SEC, 800 F.3d 518, 530 (D.C. Cir.
  27   2015) (NAM), the rule required companies to post a statement about whether its
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   1   diamonds are “conflict free,” an ideological statement intertwined with moral
   2   responsibility.
   3        Plaintiffs claim that “climate change is undisputedly a ‘controversial topic,’”
   4   and thus Zauderer does not apply. MSJ 18 (cleaned up). But even crediting
   5   Plaintiffs’ claim that aspects of climate change are controversial, neither law
   6   requires a company to take sides on any such topic. The disclosure of emissions
   7   data does not implicate any particular view about climate change. Nor does it
   8   require a company to take any steps inconsistent with its view (i.e. reducing
   9   emissions). Similarly, the disclosure of risk planning (or the lack thereof) does not
  10   require companies to conclude that they have any particular climate risks. See MSJ
  11   19. Companies remain free to determine what—if any—“climate risks” may
  12   materially impact their business. SSMF 120.
  13        For those reasons, the Court need not reach the question of whether climate
  14   change is a controversial topic. If it does, however, the Court should find that
  15   neither law implicates a controversial issue, because there is no legitimate debate in
  16   the scientific community regarding the reality of climate change. SSMF 144-145;
  17   see also Mass v. EPA, 549 U.S. 497, 521 (2007) (concluding that “[t]he harms
  18   associated with climate change are serious and well recognized”). Notably,
  19   Plaintiffs have provided no evidence to the contrary. See MSJ 18 (relying
  20   exclusively on dicta from Janus v. Am. Fed’n of State, Cnty., & Mun. Emps.,
  21   Council 31, 585 U.S. 878, 913 (2018)). Nor is there any legitimate debate in the
  22   business community that climate-risk is a factual metric relevant to companies’
  23   business planning and risk management activities. SSMF 146. Indeed, Plaintiffs
  24   provide only a single declaration from a company subject to the laws, and that
  25   company does not deny the reality of climate change or the relevance of climate
  26   change risks to its business planning. It states only that S.B. 261 “would force U-
  27   Haul to convey to the public a philosophy of environmental sustainability that it
  28   does not believe.” ECF No. 48-30, ¶ 30. That is inaccurate, as S.B. 261 only
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   1   requires the disclosure of the company’s own assessment of risks, it does not force
   2   companies to adopt any particular positions, much less on “environmental
   3   sustainability” at all. The fact that Plaintiffs can present no evidence that climate
   4   change is a “hotly disputed” subject, MSJ 2, in either the scientific or business
   5   communities, is fatal to this aspect of their argument. 4 Nat’l Ass’n of Wheat
   6   Growers v. Bonta, 85 F.4th 1263, 1279 (9th Cir. 2023) (looking for a “strong
   7   scientific consensus” and indicating that “‘uncontroversial’ does not mean
   8   ‘unanimous’”).
   9         Finally, relying on NAM, Plaintiffs claim that because “[a]ctivist groups” may
  10   use the disclosed data to “embarrass” companies and “hold them to account,” the
  11   laws run afoul of the First Amendment. MSJ 18-19. But in NAM, the government
  12   required companies to apply to their products specific language that carried a
  13   political message. Here, in contrast, there is no political message and, in fact, each
  14   company effectively dictates its own message. SSMF 119-122. That third parties
  15   could use the disclosed information to inform commercial choices or political
  16   actions does not make the compelled speech controversial. See Am. Meat Inst. v.
  17   U.S. Dep’t of Ag., 760 F.3d 18, 21-22 (D.C. Cir. 2014). Rather, it merely
  18   underscores the role that disclosure plays in furthering First Amendment goals by
  19   allowing consumers and investors to make decisions on the basis of accurate,
  20   factual information, unencumbered by the government’s own policy views.
  21         B.    The Laws are Reasonably Related to a Substantial State Interest
  22         S.B. 253 and 261 easily survive Zauderer scrutiny because they are
  23   “reasonably related to a substantial governmental interest.” CTIA, 928 F.3d at 845.
  24   Under Zauderer, the government need only show that its interest is “more than
  25   trivial.” Id. at 844.
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               To the extent this Court disagrees, Defendants are entitled to discovery into Plaintiffs’
  28   claims. See Rule 56(d) Motion.

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   1        In evaluating the government’s interest, courts must give “substantial
   2   deference to the predictive judgments of [the legislature].” Turner Broad. Sys., Inc.
   3   v. FCC, 520 U.S. 180, 195 (1997) (cleaned up); see also United States v. Edge
   4   Broad. Co., 509 U.S. 418, 434 (1993) (“Within the bounds of the general protection
   5   provided by the Constitution to commercial speech, we allow room for legislative
   6   judgments”). Moreover, this Court can consider materials outside of the legislative
   7   history, “to assure [itself] that, in formulating its judgments, [the Legislature] has
   8   drawn reasonable inferences.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 666
   9   (1994); see also Turner Broad. Sys., 520 U.S. at 196 (examining the government
  10   interest based on “the evidence before Congress and . . . the further evidence
  11   presented to the District Court on remand to supplement the congressional
  12   determination”).
  13        The California Legislature identified at least three interests served by the laws.
  14        First, California has a substantial interest in providing consistent, comparable,
  15   and reliable information to investors, consumers, and employees, to enable them to
  16   make informed judgments about the impact of climate-related risks on their
  17   investment, consumer, and other economic choices. SSMF 86-87, 92, 123-124,
  18   155-158. See Nat’l Elec. Mfrs. Ass’n v. Sorrell, 272 F.3d 104, 115 (2d Cir. 2001)
  19   (describing as “significant” the government’s interest in “better inform[ing]
  20   consumers about the products they purchase”); Am. Hosp. Ass’n, 983 F.3d at 540
  21   (describing as “legitimate” the government’s interest in “promoting price
  22   transparency and lowering healthcare costs”); Am. Meat Inst., 760 F.3d at 23
  23   (finding “substantial” the government’s interest in country-of-origin labeling
  24   because the labels “enable[d] consumers to choose American-made products” and
  25   responded to consumer interest in such labeling). S.B. 253 and 261 clearly advance
  26   this interest by requiring companies to disclose information that is considered
  27   material by investors, consumers, and employees, and hence is “closely tethered” to
  28   market transactions. SSMB 147,150,159-160. Investors have expressed that
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   1   “consideration of climate-related financial risk and other factors is a necessary
   2   component of being an informed and responsible investor,” SSMB 152. And the
   3   Legislature was well aware of the value of this information to each of these
   4   stakeholders when passing the law. SSMF 86-87; Cal. Health & Safety Code
   5   § 38533(a)(2).
   6        Second, California has a substantial interest in protecting its investors,
   7   consumers, and other stakeholders from fraud or misrepresentation. See, e.g., Riley
   8   v. Nat’l Fed’n of the Blind of N. Carolina, Inc., 487 U.S. 781, 792 (1988) (“interest
   9   in protecting charities (and the public) from fraud is, of course, a sufficiently
  10   substantial interest”). Lawmakers were aware of the prevalence of misleading
  11   information on emissions and other metrics by companies doing business in the
  12   state, and crafted SB 253 and 261 to prevent this behavior. SSMF 2. This problem
  13   is not mere “conjecture,” MSJ 9; evidence shows that voluntary disclosure leads to
  14   selective disclosure, which is highly misleading, SSMF 162, and the volume of
  15   misleading statements has exploded in recent years. SSMF 161. To prevent these
  16   practices lawmakers appropriately required comprehensive disclosure of a firm’s
  17   overall carbon emissions—i.e. Scopes 1, 2, and 3—and climate risk reporting.
  18   SSMF 164-165.
  19        Third, the California Legislature considered that, by requiring greater
  20   transparency about emissions and climate risks, S.B. 253 and 261 may encourage—
  21   through the market forces of third parties’ independent economic decisions and
  22   actions—companies doing business in California to reduce their emissions and
  23   thereby mitigate the risks California and its residents face from climate change.
  24   SSMF 168. This, too, is a substantial state interest, both because California has
  25   committed to meeting certain emissions reduction goals over time and because of
  26   the severity of the risks the state faces. Health & Safety Code, §§ 38562, 38562.2,
  27   38566. Research demonstrates a connection between reporting frameworks and
  28   improved environmental performance, including in particular between carbon
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   1   disclosure and GHG emissions reductions. SSMF 166-167. Importantly, these
   2   reductions come not through any government regulation of emissions at all,5 or
   3   government pressure to align with particular policy views, but through the provision
   4   of material information to third-parties, who may then take intervening actions that
   5   lead to reduced emissions. SSMF 169.
   6        C.      The Laws are Neither Unjustified nor Unduly Burdensome
   7        A disclosure requirement could violate the First Amendment if it was so
   8   “unjustified or unduly burdensome” that it chills or restricts constitutionally
   9   protected commercial speech. Zauderer, 471 U.S. at 651. But neither is true here.
  10   As discussed in Section II.B, the effectiveness of emission and climate-risk
  11   disclosure laws at materially alleviating the harms identified by the government was
  12   considered by the Legislature, and is supported by evidence. Ibanez v. Fla. Dep’t
  13   of Bus. & Prof. Regul., Bd. of Acct., 512 U.S. 136, 146 (1994). Moreover, Plaintiffs
  14   have not provided any evidence to suggest that their speech would be burdened by
  15   either law. Nor can they, as the laws do not interfere with any message companies
  16   may wish to convey. Am. Hosp. Ass’n, 983 F.3d at 541 (examining whether law
  17   requires speaker “to endorse a particular viewpoint” or “prevents them from adding
  18   their own message”); cf. Ibanez, 512 U.S. at 146 (holding that a disclosure was
  19   “unduly burdensome” when it “effectively rule[d] out” the regulated entity’s ability
  20   to speak).
  21        The only burden that Plaintiffs allege is a “financial” one. But Plaintiffs “must
  22   demonstrate a burden on speech,” Am. Hosp. Ass’n, 983 F.3d at 541. In any event,
  23   any administrative and financial burden here is not “undue.” For one, a large
  24   percentage of companies subject to the disclosure requirements already voluntarily
  25   disclose some or all of this data, or are subject to other reporting requirements,
  26   SSMF 101-109, reducing the marginal increase in cost for these companies to
  27          5
                 “[C]ourts routinely distinguish between pressure created by state laws and actual
       regulation by the State, and recognize only the latter as an actionable injury.” MTD 13 (ECF 38-
  28   1); see also Reply iso MTD 7-8.

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   1   report under SB 253 and 261. Cal. Health and Safety Code §§ 38532(c)(1)(D)(i)
   2   (avoiding duplication of reporting); 38533(b)(4) (same). Moreover, because the
   3   laws only apply to the largest companies, the vast majority of covered companies
   4   already have the reporting infrastructure and data necessary to prepare the required
   5   information with minimal burden, SSMF 172-179, and need expend only 0.025
   6   percent of their annual revenue in preparing the data. SSMF 170. Indeed, the
   7   frequency of voluntary reporting suggests that disclosures materially benefit many
   8   companies.
   9         Thus, even if financial burden were a relevant consideration, Plaintiffs fail to
  10   establish that the laws will impose such burdens in “a substantial number of [their]
  11   applications.” Americans for Prosperity Foundation, 594 U.S. at 615; Moody, 144
  12   S. Ct. at 2398 (to evaluate a facial challenge to a law compelling speech a court
  13   must ask “as to each thing covered, whether the required disclosures unduly burden
  14   expression”). Plaintiffs’ evidence of the financial burden of compliance is limited
  15   to a statement by the Governor that expresses concern over the possibility that the
  16   laws will have a negative “financial impact” on affected businesses and thus directs
  17   CARB to “closely monitor the cost impact as it implements” the new laws, SSMF
  18   23, 41, and anecdotal statements from only two companies purportedly covered by
  19   the laws, SSMF 29, 62-65. This is insufficient to satisfy Plaintiffs’ burden on a
  20   facial challenge. 6
  21   III. ALTERNATIVELY THE DISCLOSURE LAWS ARE CONSTITUTIONAL
            UNDER CENTRAL HUDSON
  22
  23         If this Court does not apply Zauderer scrutiny because it finds the speech
  24   compelled under S.B. 253 or 261 is not factual or uncontroversial, then “the court
  25   should … proceed to examine the [laws] under Central Hudson’s intermediate
  26   scrutiny.” See Nat’l Ass’n of Wheat Growers v. Becerra, 468 F. Supp. 3d 1247,
  27          6
               If this Court disagrees and finds such evidence relevant, Defendants are entitled to
       discovery into Plaintiffs’ claims. See Rule 56(d) Motion.
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   1   1258 (E.D. Cal. 2020). Under Central Hudson, courts uphold government
   2   regulation of commercial speech where it directly advances a substantial
   3   government interest, and the regulation is no more restrictive than necessary to
   4   serve that interest. 447 U.S. at 564. Central Hudson merely requires a “fit”
   5   between the government end and the means chosen to accomplish that end; that
   6   means need not be the “best disposition” of the government’s interest, “but one
   7   whose scope is ‘in proportion to the interest served.’” Bd. of Trs. of State Univ. of
   8   N.Y. v. Fox, 492 U.S. 469, 476-80 (1989).
   9        S.B. 253 and 261 directly advance the government’s substantial interests. See
  10   supra, Argument Section II.B-C. And the scope of these laws is appropriate for the
  11   interests served. Plaintiffs argue that the laws are overbroad because they are not
  12   tied to “whether [a] company has investors,” “whether climate change is likely to
  13   have a material impact on any product or service sold within the State,” or whether
  14   the law will have an impact on climate change. MSJ 20. These criticisms are
  15   misplaced. For one, the government’s interest is not solely tied to investors, but
  16   also to protecting consumers and other stakeholders. SSMF 5, 24, 26. Moreover,
  17   the value of emissions and climate-risk information to California market
  18   participants concerns the financial performance of the company as a whole and
  19   whether the firm is an appropriate recipient of their money. SSMF 154. And
  20   evidence indeed supports that disclosure requirements can reduce emissions, with
  21   minimal burden compared to emission regulations. SSMF 166-167.
  22        While Plaintiffs argue the state can have no legitimate interest in information
  23   from a company that “engages in a single transaction within the State,” MSJ 20,
  24   this concern appears to be purely hypothetical. Plaintiffs offer no evidence that this
  25   concern applies to any entity covered by the laws—those with annual revenues of
  26   $500 million and $1 billion. In any event, this concern is insufficient to
  27   demonstrate “facial” invalidity of the laws, as Plaintiffs can point to no evidence
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   1   that this phenomenon is significant enough to burden constitutional rights in “a
   2   substantial number of [its] applications.” Moody, 144 S. Ct. at 2397. 7
   3   IV. THE REGULATORY DISCLOSURE REQUIREMENTS OF SENATE BILLS 253
           AND 261 ARE NOT SUBJECT TO STRICT SCRUTINY
   4
   5           Plaintiffs argue that S.B. 253 and 261 “trigger[] strict scrutiny” because,
   6   Plaintiffs claim, these are “content-based” laws that “burden” political speech. MSJ
   7   7-8. Plaintiffs’ argument, however, depends on this Court first concluding that the
   8   laws cover something other than commercial speech, as in the commercial speech
   9   context even a content-based restriction on speech is subject to lesser scrutiny.
  10   NIFLA, 585 U.S. at 768-69 (citing Zauderer, 471 U.S. at 651). But even outside
  11   the commercial speech context, the application of strict scrutiny is inappropriate
  12   here.
  13           First, the laws are part of a “broader regulatory apparatus” governing the
  14   disclosure of commercial data.8 Env’t Def. Ctr., 344 F.3d at 850 n.26; see also
  15   Glickman v. Wileman Bros. & Elliott, Inc., 521 U.S. 457, 469 (1997) (evaluating
  16   assessment “under the standard appropriate for the review of economic regulation”
  17   rather than “under a heightened standard appropriate for the review of First
  18   Amendment issues,” because it was part of a broader “regulatory scheme”). While
  19   courts “strictly scrutiniz[e] certain categories of laws that threaten to ‘drive certain
  20   ideas or viewpoints from the marketplace,’” “not all laws that distinguish between
  21   speech based on its content fall into a category of this kind.” City of Austin, Texas
  22   v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 78-79 (2022) (Breyer, J.,
  23   concurring). Census reporting requirements, securities-related disclosures,
  24   copyright infringement, tax disclosures, etc., arguably touch on the content of
  25   speech, id., but have been found not to implicate First Amendment concerns at all,
  26
                7
                To the extent this Court disagrees, Defendants are entitled to discovery into Plaintiffs’
  27   claims. See Rule 56(d) Motion.
              8
                See, e.g., Health & Safety Code, § 38530; Cal. Corp. Code § 25000, et seq. (California
  28   Corporate Securities Law of 1968).

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   1   much less implicate strict scrutiny. See, e.g., S.E.C. v. Wall St. Publ’g Inst., Inc.,
   2   851 F.2d 365, 373 (D.C. Cir. 1988); see also Ohralik v. Ohio State Bar Ass’n, 436
   3   U.S. 447, 457 (1978).
   4        Second, the laws do not attempt to “prescribe what shall be orthodox in
   5   politics, nationalism, religion, or other matters of opinion or force [companies] to
   6   confess by word or act their faith therein,” and thus do not burden political speech.
   7   Env’t Def. Ctr., 344 F.3d at 849. California’s laws require no affirmation, express
   8   or implied, of private agreement with a government-favored viewpoint or position.
   9   To be sure, certain policy responses to climate change are the subject of vigorous
  10   political debate; but these disclosures do not implicate these debates. And Plaintiffs
  11   cite to no case suggesting that third parties’ later use of this information to make
  12   economic or policy decisions necessitates strict scrutiny in the disclosure of the
  13   underlying facts themselves. See MSJ 8.
  14        Plaintiffs’ other arguments for the application of strict scrutiny are equally
  15   unavailing. There is a long history of compelled commercial speech, in general,
  16   and corporate disclosures, in particular, that supports the measures California
  17   adopts here. MSJ 13; see supra Background I.A, I.B. Neither S.B. 253 or 261
  18   compel companies to speak on California’s terms, the concern expressed in NAM,
  19   800 F.3d at 530. MSJ 13. Indeed, the laws leave the content of the disclosures to
  20   the speaker, which militates against the application of strict scrutiny. See Rumsfeld
  21   v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 62 (2006) (only
  22   compelled speech that “dictate[s] the content” of the speaker’s message or involves
  23   a “Government-mandated pledge or motto that the [speaker] must endorse” triggers
  24   constitutional scrutiny); see also Env’t Def. Ctr., 344 F.3d at 848 (regulations
  25   requiring distribution of educational materials did “not offend the First
  26   Amendment” because the “broad requirements” of the regulations did “not dictate a
  27   specific message”). And the laws are not vague—they integrate widely used and
  28   accepted metrics for preparing disclosures of a kind that are already in frequent use
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   1   across the market. SSMF 95-98. As such, implementation of the laws is
   2   straightforward, and Plaintiffs’ concerns are misplaced.
   3   V.     SENATE BILLS 253 AND 261 WOULD SURVIVE REVIEW UNDER STRICT
              SCRUTINY
   4
   5          Ultimately, S.B. 253 and 261 survive review even under strict scrutiny, if
   6   applied. Iancu v. Brunetti, 588 U.S. 388, 402-03 (2019) (Breyer, J., concurring in
   7   part and dissenting in part). Both laws are “narrowly tailored” to serve the
   8   government’s “compelling state interests,” including the prevention of fraud and
   9   misrepresentation, and the correction of market inefficiencies. NIFLA, 585 U.S. at
  10   766.
  11          The only means of alleviating the climate-related information asymmetries
  12   that exist in the current market is by requiring companies to disclose complete and
  13   accurate information. Without mandatory, comprehensive disclosures, companies
  14   are incentivized to selectively disclose information, causing gaps in data that
  15   prevent the markets from obtaining information necessary for investors, consumers,
  16   and employees to make rational decisions. The information obtained through S.B.
  17   253 and 261 is (1) material to investors, SSMF 147, consumers, SSMF 159, and
  18   employees, SSMF 160; (2) effective at reducing fraud, SSMF 164-165; and (3)
  19   effective at reducing GHG emissions, SSMF 166-167. And the usefulness of this
  20   data is significantly improved by the inclusion of Scope 3 emissions, SSMF 180-
  21   182, for which the burdens of disclosure are significantly less than Plaintiffs
  22   suggest, MSJ 5, SSMF 170, 175.
  23          Plaintiffs argue that the government could collect the information itself. MSJ
  24   12. But “companies possess more detailed and accurate data about their own
  25   internal operations and impacts than do external observations.” SSMF 171.
  26   Plaintiffs suggest that the application of the law to any business entity satisfying the
  27   revenue threshold regardless of investment status or connection to a product is too
  28   broad; but Plaintiffs ignore that the revenue threshold is a significant limitation on
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   1   the application of the laws. SSUF 183-188. There is a genuine issue of material
   2   fact as to whether any business in California with over $500 million in annual
   3   revenue lacks outside investors, whether public or private. SSUF 189. And the
   4   application to companies that have low GHG emissions or face negligible financial
   5   risk does not render the laws overbroad, MSJ 12; rather, their data serves the
   6   government’s interests in allowing stakeholders to consider this information in
   7   making financial decisions.
   8                                     CONCLUSION
   9        For the reasons stated above, Plaintiffs’ motion for summary judgment should
  10   be denied.
  11
  12
       Dated: July 24, 2024                         Respectfully submitted,
  13
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   1                          CERTIFICATE OF COMPLIANCE
   2        The undersigned, counsel of record for Defendants Liane M. Randolph, Steven
   3   S. Cliff, and Robert A. Bonta, certifies that this brief contains 6,999 words, which
   4   complies with the word limit of L.R. 11-6.1.
   5
       Dated: July 24, 2024                           Respectfully submitted,
   6
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  17                                                  A. Bonta

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                            CERTIFICATE OF SERVICE


  Case Name: Chamber of Commerce of the United States of America, et al.
                     v. Liane M. Randolph, et al.

  Case No.:      2:24-cv-00801-ODW-PVC


  I hereby certify that on July 24, 2024, I electronically filed the following
  documents with the Clerk of the Court by using the CM/ECF system:

       DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
               SUMMARY JUDGMENT ON CLAIM I
  I certify that all participants in the case are registered CM/ECF users and that
  service will be accomplished by the CM/ECF system.

  I declare under penalty of perjury under the laws of the State of California and the
  United States of America the foregoing is true and correct and that this declaration
  was executed on July 24, 2024, at Los Angeles, California.



           Beatriz Davalos                              /s/ Beatriz Davalos
             Declarant                                       Signature




                                            25
